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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA                          :
                                                  :
                                                  :
                   v.                             : Crim No. 1:22-cr-00354-RCL
                                                  :
                                                  :
RICHARD SLAUGHTER, and                            :
                                                  :
CADEN PAUL GOTTFRIED,                             :
                                                  :
              Defendants.                         :
  DEFENDANTS’ REPLY TO UNITED STATES’ RESPONSE REGARDING
                THE PLANTING OF MALWARE
NOW COMES the defendants, Richard Slaughter and Caden Gottfried, who reply

to the government’s response (#41) regarding the notice of malware attached to

government discovery.

      Defense attaches the declarations of Emily Lambert and Saikrishna

Mittapalli.

      The government’s response states that defense counsel “claims, without

evidence,” that the government’s discovery email contained trojan malware
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“designed to allow the sender to take over and remotely control the recipient’s

computer.”

      Contrary to the government’s suggestion, the antivirus program plainly

alerted that “Active threats have not been remediated and are running on your

device” and that “This program is dangerous and executes commands from an

attacker.” These screenshots were included in defendant’s notice and reprinted

below:
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      These aren’t statements originating from defense counsel. These are alerts

generated by some of the world’s most sophisticated virus detecting software.

Note that the term “Trojan” has a specific definition as it relates to computer code.

“A Trojan horse, or Trojan, is a type of malicious code or software that looks

legitimate but can take control of your computer. A Trojan is designed to damage,

disrupt, steal, or in general inflict some other harmful action on your data or

network.” https://us.norton.com/blog/malware/what-is-a-trojan# (accessed
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5/1/2023). The Microsoft anti-virus program—not defense counsel—identified the

government’s files as “Trojan” malware.

      In fact, defense staff checked, re-checked, and re-checked again. We

submitted the corrupted file to a certified professional computer programming

expert. And then another. The government’s discovery file contained Trojan

malware. We will have a flashdrive with the isolated file available for the Court’s

inspection, review, research and investigation at the upcoming status hearing.

Dated: May 02, 2023

                                Respectfully Submitted,


                                                                 /s/ John M. Pierce
                                                                     John M. Pierce
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                                                           Attorney for Defendants
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                         CERTIFICATE OF SERVICE

      I, John M. Pierce, hereby certify that on this day, May 2, 2023, I caused a

copy of the foregoing document to be served on all counsel through the Court’s

CM/ECF case filing system.



                                      /s/ John M. Pierce
                                      John M. Pierce
